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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In      Arick Ryan Russell
Re:     Debtor                                          Case No.: 17−33931                                         ENTERED
                                                        Chapter: 13                                                03/20/2018




                                               ORDER OF DISMISSAL

    1. On the chapter 13 trustee's motion, this case is dismissed. The Court's reasons for dismissal were stated on the
record in open court.

     2. The deadline for filing an application for an administrative expense in this case is set at 21 days following the
entry of this Order. The deadline for filing a motion for allowance of a claim arising under § 507(b) in this case is
also set at 21 days following entry of this order.

    3. If an application for allowance of professional fees and expenses has previously been filed in this case, the
applicant is not required to file a new application for allowance of an administrative expense under § 503, if the new
application only seeks allowance of the same professional fees and expenses previously requested.

    4. This order terminates (i) all orders to the Debtor(s)' employer that require payments to the chapter 13 trustee;
and (ii) all orders directing payments by ACH or EFT.

      Signed and Entered on Docket: 3/20/18.
